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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DIRECT CONSTRUCTION SERVICES, LLC,                        Case No.
a Michigan non-profit corporation,                        Hon.
and TIMOTHY DRAKEFORD,

            Plaintiffs,

v.

CITY OF DETROIT, MAYOR MICHAEL EDWARD
DUGGAN, DETROIT LAND BANK AUTHORITY,
DETROIT BUILDING AUTHORITY, TAMMY DANIELS
(in her official capacity), IRENE TUCKER, (in her official capacity),
BOYSIE JACKSON (in his official capacity),
RON CRAWFORD (in his official capacity),
TIMOTHY M. PALAZZOLO (in his official capacity),
and BRIAN FARKAS (in his official capacity), Jointly and Severally.

            Defendants,

Vanessa G. Fluker (P64870)
VANESSA G. FLUKER, ESQ., PLLC
Attorney for Plaintiffs
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Detroit, Michigan 48201
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                     COMPLAINT AND JURY DEMAND

      Plaintiffs DIRECT CONSTRUCTION SERVICES, LLC and TIMOTHY

DRAKEFORD, by and through their attorneys, VANESSA G. FLUKER, ESQ.,
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PLLC, and for their Complaint against Defendants CITY OF DETROIT, MAYOR

MIKE DUGGAN, DETROIT LAND BANK AUTHORITY, DETROIT BUILDING

AUTHORITY, TAMMY DANIELS, IRENE TUCKER, BOYSIE JACKSON, RON

CRAWFORD, TIMOTHY M. PALAZZOLO and BRIAN FARKAS, states as

follows:

                                     PARTIES

      1.       Plaintiff Direct Construction Services, LLC, (“DCS”), a domestic

limited liability company with registered office located at 5741 Roosevelt St.,

Detroit, MI 48208, and it principal place of business in Detroit, MI.

      2.       Plaintiff Timothy Drakeford is a natural person, and the managing

member of Direct Construction Services, LLC, with its principal place of business

located in the City of Detroit, County of Wayne, and State of Michigan, and doing

business in the City of Detroit, County of Wayne, State of Michigan.

      3.       Defendant City of Detroit is a municipality in Wayne County, State

of Michigan, with the City Clerk as its proper agent under MCR 2.105.

      4.       Defendant Mayor Mike Duggan is the mayor of the City of Detroit,

with the City of Detroit Law Department as his proper agent under MCR 2.105.

      5.       Defendant Detroit Land Bank Authority (“DLBA”), is quasi-

municipal corporation pursuant to MCR 2.105, and it proper agent for service of

process is the City of Detroit Law Department.
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      6.        Defendant Detroit Building Authority (“DBA”) is a quasi-

municipal corporation pursuant to MCR 2.105, and it proper agent for service of

process is the City of Detroit Law Department.

      7.        Defendant Tammy Daniels in her official capacity as the Executive

Director of the Detroit Land Bank Authority.

      8.        Defendant Irene Tucker, in her official capacity as the Chief

Financial Officer of the Detroit Land Bank Authority.

      9.        Defendant Boysie Jackson in his official capacity as the Purchasing

Director for the City of Detroit.

      10.       Defendant Ron Crawford, in his official capacity as the Compliance

Officer for the City of Detroit.

      11.       Defendant Brian Farkas in his official capacity as Demolition

Special Projects Direct for the Detroit Building Authority.

      12.       Defendant Timothy M. Palazzolo in his official capacity as

Demolition Operations Manager for the City of Detroit.

                          JURISDICTION AND VENUE

      13.       This cause of action also arises under Civil Rights Acts of 1866 &

1870, 42 U.S.C. §§ 1981 & 1983 (Sections 1981 & 1983), including Section

1981(b), which prohibit discrimination and adverse treatment on the basis of race
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with respect to the formation of contracts and the implementation of government

contracts and retaliation.

      14.       This cause of action also arises under the fair housing and financing

provisions of the Michigan Elliot-Larsen Civil Rights Act, Mich. Comp. Laws §

37.2501 et seq. (ELCRA), which, like Sections 1981 & 1983, prohibits any and all

forms of discrimination on grounds of race or color in connection with government

contracts and retaliation.

      15.       This cause of action includes claims for breach of contract and

concert of action by Defendants.

      16.       This Court has jurisdiction of this action pursuant to 28 U.S.C. §

1331, 42 U.S.C. § 3613 and 15 U.S.C. § 1691e. The Court also has supplemental

jurisdiction over Plaintiffs’ state law ELCRA claims, breach of contract and

concert of action claims.

      17.       Plaintiffs’ claims are timely, as the three-year statute of limitations

period applicable to claims under Sections 1981 & 1982 and the ELCRA, six year

statute of limitations for breach of contract and a three year statute of limitations

for concert of action.

      18.       Venue is appropriate, under 28 U.S.C. § 1391, since the events

giving rise to this action occurred in this District; and the events occurred in the

governmental municipality of Defendants.
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                          GENERAL ALLEGATIONS

Hardest Hit Funds Requirements the Demolition Program

      19.      The Home Affordable Modification Program (HAMP) created a

component entitled the Hardest Hit Funds, for states that had exceptionally high

mortgage foreclosures, and Michigan was one of the identified states.           The

program initially covered assistance to individual homeowners with mortgage

delinquency issues. The program was further expanded to include tax foreclosures.

(Exhibit 1, Hardest Hit Homeowners Informational Sheet)

      20.      The Hardest Hit Program has further expanded permitting local

municipalities to designate funding for demolition or residential housing that posed

a safety and/or health risk, as many homes remained vacant post foreclosure.

These homes created not only blight but safety concerns for the communities

impacted.

      21.      The City of Detroit was awarded Hardest Hit Funds that was

implemented through the Detroit Land Bank Authority, with Michigan State

Housing Authority acting as the federal fiduciary. Moreover, the Detroit Building

Authority acted as the management agent for the City of Detroit to coordinate and

implement the Demolition Program.          (Exhibit 2, Demolition Management

Agreement Between City of Detroit and Detroit Building Authority)
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      22.       As a part of the demolition program, minority contractors were

solicited and encouraged to bid on demolition contract packages, under the Hardest

Hit Homeowners funding. There was a positive response and many minority

contractors in the metro Detroit area viewed this as a positive opportunity to

enhance their business and perform viable work for the Detroit Land Bank

Authority and improving the quality of life for the citizens of the City of Detroit.

      23.      The contracts were bided upon by minority contractors including

the Plaintiffs in the instant matter with the understanding the contracts would be

implemented and executed in a fair and non discriminatory manner, as all

governmental contracts are required to be performed. Unfortunately, this was not

the case as reflected in the numerous news articles as well as personal experiences

of many minority contractors.

      24.      It came to light there were issues with the amount of money being

charged for demolition of property under the Detroit Land Bank Authority’s

demolition program funded with federal Hardest Hit Homeowners dollars.

Moreover, some contractors including the Plaintiffs were asked to change bidding

and cost numbers after the initial invoicing to reflect compliance under the Hardest

Hit Homeowners guidelines.

      25.      Plaintiffs by and through Plaintiff Timothy Drakeford refused to

make the changes in the numbers. This issue was high profile and media outlets
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and journalists were writing on the subject. Plaintiff Timothy Drakeford was

interviewed by a local newspaper as to his position with changing the numbers post

the bidding and invoicing. Plaintiff Drakeford commented he would not change

numbers or engage in any conduct that would be inappropriate or reflect his

company in a negative light. (Exhibit 3, Detroit News Article dated November 3,

2016)

        26.     This case arises because of Defendants’ breach of contract, concert

of action, due process violations, discrimination on the grounds of race in its

implementation of the Hardest Hit Homeowners Demolition program, including

failure to timely pay black contractor in comparison to their white counterparts,

improper and disparate discipline, and retaliation.

        DIRECT CONSTRUCTION SERVICES, LLC’S BACKGROUND

        27.   Plaintiff hereby incorporates by reference Paragraphs 1 through 26, as

though fully restated herein.

        28.     Plaintiff DCS emerged as a new company after the death of the

patriarch of Drakeford and Sons Trucking. Plaintiff Timothy Drakeford took the

helm, armed with a Master Degree in civil engineering. Plaintiffs’ are licensed

residential builders in the State of Michigan. (Exhibit 4, Residential Builder’s

License) Plaintiff Drakeford has participated in construction management training.

Moreover, Plaintiff Drakford has made special training for lead and asbestos in
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construction. (Exhibit 5, Turner Management Training Certificate, and Exhibit 6,

Training Certificate for Lead and Asbestos)

      29.      Plaintiff Drakeford is further certified in concrete, has highway

construction certification, and evacuation training. (Exhibit 7, Concrete Training

Certificate, Exhibit 8, Certificate for Evacuation Training, and Exhibit 9,

Highway Construction Certificate)     Plaintiff Drakeford received special U.S.

Congressional Recognition for his company, DCS, just this year on March 27,

2018. (Exhibit 10, U.S. Congressional Certificate of Special Recognition)

Plaintiff Timothy Drakeford is a Member of a Protected Class and Minority
Business Owner.

      30.      Plaintiff Timothy Drakeford is Black or of African-American

descent.

      31.      Plaintiff Drakeford’s race or color as “Black or African American”

was known to Defendants through the contract bidding process.

      32.      Plaintiff DCS is a minority owned and operated company located in

Detroit, Michigan.

      33.      Defendants at all relevant times was aware of Plaintiff Drakeford

being a black individual and Plaintiff DCS being a minority owned and operated

business.
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Plaintiffs’ DLBA Contracts, Work Performance and Discriminatory
Treatment As Compared To White Contractors.

      34.      Plaintiffs bidded and was awarded three (3) contracts for demolition

work by the DLBA, including contract 11, 4.7.16A, and 4.7.16B. (Exhibit 11,

DLBA Contracts with Plaintiffs)

      35.      Plaintiffs did notice that its payments were delayed and much more

difficult to obtain from the DLBA, than larger white companies, such as Adamo

and Homrich. Moreover, Plaintiff was commonplace with minority contractors

were force to work outside the scope of the contract including cleaning trash from

demolished properties that had been finished months before and previous cleaned

and cleared. During this process, Plaintiffs were not being paid.

      36.      The unfair treatment became very noticeable, and an investigation

into the hefty payments to white companies began. After it was learned the may

have been over pricing, Defendant DBLA and DBA representatives wanted

contractors to adjust their numbers to fit within the designated cost cap.

      37.      Plaintiff DCS had been performing on the two contracts it had been

awarded for a total of 48 homes. Plaintiff DCS received a letter dated December

19, 2016 from DLBA for an immediate Stop Work Order. (Exhibit 12, Stop Work

dated December 19, 2016) There was no explanation as to why the stop work

order was issued.    Just the stop work order of all work until further notice.

Interestingly, Plaintiff DCS received a Policy on Contractor Discipline dated three
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(3) days after the stop work order. (Exhibit 13, Policy on Contractor Discipline

dated December 22, 2016)

      38.      Plaintiff by and through its representative Tim Drakeford received a

letter dated February 17, 2017, regarding the OIG report. (Exhibit 14, DLBA

Modified Stop Work Letter February 17, 2017) It specifically delineated that the

five (5) properties in question would not be reimbursed. Moreover, it directed

Plaintiff to correct any sidewalk work that needed to be done.

      39.      Plaintiff DCS began making calls regarding restarting work on the

contracts. Instead of receiving information of restarting work, the representative

was called to a meeting and told he was indefinitely suspended. This was further

memorialized in a letter dated May 19, 2017. (Exhibit 15, DLBA Suspension

Letter dated May 19, 2017)

      40.      Plaintiff at that point was concerned and had been question by FBI

investigators regarding issues at the DLBA. Plaintiff was advised he and his

company could not bid or continue work. Plaintiff DCS was placed on the DLBA

contractor suspension list as indefinitely suspended.     (Exhibit 16, Contractor

Suspension List)

      41.      Plaintiff took bid packages to the DLBA and dropped them off.

Interestingly, Plaintiff’s suspension status was immediately changed and DCS
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removes from the suspension list until after the bidding session for contracts was

over. (Exhibit 17, Contractor Suspension List)

      42.      During this time, Plaintiff continues to seek payment for work

previously completed. Some work was at that time over six months old. (Exhibit

18, September 16, 2016, Email chain) Plaintiff working with his bondholders as

DLBA’s failure to pay Plaintiff caused several vendors to call in Plaintiff’s bond,

still could not get DLBA representatives to timely pay on completed work.

(Exhibit 19, June 6, 2017, email chain)

      43.      Defendant DLBA by and through Tammy Daniels, Irene Tucker,

Boysie Jackson, Ron Crawford, Timothy M. Palazzolo and Brian Farkas acted in

concert to allege and create a bogus picture fraud by Plaintiff Drakeford. This was

so outrageous, as the very conduct Plaintiff Drakford was accused of doing was the

policy of the DLBA and DBA, and a DLBA employee actually emailed Plaintiff

Drakeford and advised if he had problems cropping the photos of the site she

would assist. (Exhibit 20, Email dated May 17, 2017)

      44.      This outrageous conduct was catalyzed by a bogus and perpetual

OIG performed its alleged investigation and a report was generated on February 1,

2017, alleging photos from five (5) properties were altered or “photo shopped”.

Plaintiff by and through its representative Timothy Drakeford fully cooperated
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with the investigation was surprised as to the findings and the proposed

recommendations. (Exhibit 21, OIG Report dated February 1, 2017)

      45.      Plaintiff Drakeford continued to try to get compensated under his

contracts for work already performed. The acknowledgement of completed work

by DLBA employees would turn into no payment for Plaintiffs. (Exhibit 22, June

14, 2017, Email Chain)     In fact, Defendant Irene Tucker assured immediate

payment for Plaintiff’s work. (Exhibit 23, August 1, 2017, email from Irene

Tucker)

      46.      The constant battle with DLBA personnel to get some type of

payment became the quest not only for Plaintiff Drakeford, but for his bondholders

who consistently kept inquiring as to why Plaintiff is not being paid when work

was completed and invoice submitted. This repetitive process has gone on for over

a year now, with no success on the DLBA and DBA honoring Plaintiffs contract

and making payment as reflected in the numerous emails between Plaintiff his

bondholder and DLBA personnel including Defendant Tammy Daniels. (Exhibit

24, September 26, 2017, Email Chain, Exhibit 25, November 13, 2017, Email

Chain, Exhibit 26, December 11, 2017, Email chain, and Exhibit 27, March 5,

2018, email chain)

      47.      Defendants DLBA, City of Detroit and DBA require contractors to

sign a Non-Collusion Affidavit, yet go to great lengths to collude and retaliate
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against contractors such as Plaintiffs.    (Exhibit 28, Non Collusion Affidavit)

Defendant’s suspended Plaintiffs not because of work quality but because of the

refusal to change numbers in bid packages. Moreover, Defendants Ron Crawford,

Tim Palazzolo and Tammy Daniels all acting as state actors suspended Plaintiff

without due process and created a disciplinary policy and applied it retroactively or

ex post facto.

                                    DAMAGES

      48.        As a direct and proximate result of the Defendants’ differential

treatment and discrimination against Plaintiff Drakeford on grounds of his race or

color, or the race or color. Plaintiff Drakeford has incurred economic losses and

damages, including the loss of income, and equipment, as well as non-economic

injuries, such as embarrassment, humiliation, anxiety, frustration, loss of

personhood and civil rights, and other personal injuries caused by the

discriminatory actions of Defendants DLBA, DBA and City of Detroit by and

through it employees and agents.

      49.        Further, the acts, conduct and/or omissions of Defendants with

respect to Plaintiff Drakeford was and continues to be intentional, malicious, and

in wanton or reckless disregard of the rights and feelings of Plaintiff Drakeford,

entitling Plaintiff Drakeford to an additional award of punitive and/or exemplary

damages.
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                              COUNT I
            VIOLATION OF 42 U.S.C. § 1981 – RACE OR COLOR

      50.    Plaintiff hereby incorporates by reference Paragraphs 1 through 49,

along with all exhibits, as though fully restated herein.

      51.       Defendants’ discriminatory actions on grounds of race or color

denied Plaintiffs the rights to which they entitled to contract for and otherwise

enjoy the privileges of just as is enjoyed by white citizens.

      52.       Defendants’ discrimination in violation of section 1981 has caused

injuries and damages to Plaintiffs.

      53.       Plaintiffs have done work above and beyond the contract but cannot

get paid on its contracts as its white counter parts similarly situated who have not

had to wait 12-24 months for payment of work performed under a governmental

contract,

      54.       Defendants acting under color of State law has impaired Plaintiffs’

ability to perform and enjoy the benefits of its contracts.


                              COUNT II
              VIOLATION OF 42 U.S.C. § 1983 - DUE PROCESS

      55.    Plaintiff hereby incorporates by reference Paragraphs 1 through 54,

along with all exhibits, as though fully restated herein.

      56.       Defendants’ actions are in violation of 42 U.S.C. §§ 1983,

including due process violations.
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      57.       Defendants Ron Crawford, Tim Palazzolo and Tammy Daniels

violated Plaintiffs due process rights by suspending Plaintiff for violating a policy

that had not been created. Moreover, Defendants failed to apprise Plaintiffs of any

appeal process, and Plaintiff has to seek legal counsel to even attempt to obtain

exercise an appeal right despite this being a constitutional right. (See Exhibits 12-

13)

      58.       Defendants Ron Crawford, Tim Palazzolo and Tammy Daniels did

deprive Plaintiff Drakford of due process by improperly suspending Plaintiff

Drakeford, and even more outrageous, create a disciplinary policy after the

discipline, and in violation of location ordnances and City of Detroit Charter.

                                   COUNT III
                                  RETALIATION

      59.    Plaintiff hereby incorporates by reference Paragraphs 1 through 59,

along with all exhibits, as though fully restated herein.

      60.       Defendants retaliated against Plaintiff because Plaintiff refused to

change numbers in a bid package. Defendant Brian Farkas open and publicly stated

that Plaintiffs would never work for the DBLA or DBA again and within 60 days,

Plaintiffs’ were suspended and under a stop work under, although white

counterparts were not suspended or subjected to retaliation.
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      61.        Plaintiff was singled out with retaliate after refusing to change

numbers and for cooperating with the FBI during their investigation in the Detroit

area after Plaintiff Timothy Drakeford.

      62.        Plaintiffs have been damaged as a result of Defendants retaliation

and is entitled to actual damages as well as non-economic injuries and damages.

                                 COUNT IV
                          VIOLATION OF THE ELCRA

      63.    Plaintiff hereby incorporates by reference Paragraphs 1 through 63,

along with all exhibits, as though fully restated herein.

      64.        Defendants have discriminated against Plaintiffs on grounds of race

or color in violation of the ELCRA, which prohibits any person or entity from

discriminating against any person in making in making and performing a contract

or enforcing the terms or conditions of such a contract or transaction, because of

race or color.

      65.        Defendants have refused to adhere to the terms and conditions of

Plaintiffs contract, and have altered terms making Plaintiff do excessive work

outside the contract, which is not required of white contractors.

      66.        Defendants’ discrimination in violation of the ELCRA has caused

injuries and damages to Plaintiffs.
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                                 COUNT V
                            BREACH OF CONTRACT

67.   Plaintiff hereby incorporates by reference Paragraphs 1 through 66, along

with all exhibits, as though fully restated herein.

      68.       The elements of a valid and enforceable contract are (1) parties

competent to contract; (2) offer and acceptance; (3) consideration; and (4)

mutuality of obligation.

      69.       Plaintiff and DLBA are parties competent to contract.

      70.       There was an offer and acceptance based on a bidding process for

three (3) contract for demolition work. (See Exhibit 11) Plaintiffs accepted

executed the agreement, and performed under it.

      71.       Defendant DLBA by through its employees and agents including

but not limited to all Defendants in their official capacity did breach the agreement

by failing to perform or otherwise impair the terms of the contract.

      72.       As a result of Defendants’ breach of contract, Plaintiff have

suffered economic loss as well as liquidated damages and opportunity losses.

                            COUNT IV
                CONCERT OF ACTION: ALL DEFENDANTS

73.   Plaintiff hereby incorporates by reference Paragraphs 1 through 73, along

with all exhibits, as though fully restated herein.
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      74.       Defendants DLBA, DBA and City of Detroit by and through their

employees and representatives, including but not limited to Tammy Daniels, Irene

Tucker, Boysie Jackson, Ron Crawford, Timothy M. Palazzolo and Brian Farkas

acted in concert to allege and create a bogus picture fraud by Plaintiff Drakeford.

      75.       These Defendants acted in concert pursuant to a common design or

plan to remove Plaintiffs from the DLBA demolition program, and to retaliate

against Plaintiff Drakeford for refusing to change numbers and for cooperating in

an FBI investigation into the demolition program.

      76.       Defendants including but limited to Tammy Daniels, Irene Tucker,

Boysie Jackson, Ron Crawford, Timothy M. Palazzolo and Brian Farkas acted in

concert to allege and create a bogus disciplinary action and made material

misrepresentations regarding discipline, and the performance of the terms of

Plaintiffs contract.

      77.       Defendants including Defendants Tammy Daniels, Irene Tucker,

Boysie Jackson, Ron Crawford, Timothy M. Palazzolo and Brian Farkas made the

representations with the intent that the Plaintiffs would rely on them so the

Defendants could breach the Plaintiffs contract and retaliate against Plaintiffs.

      78.       Defendants knew their representations were false or reckless

without knowledge of their truth.
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      79.        Plaintiff did rely on Defendants Tammy Daniels, Irene Tucker,

Boysie Jackson, Ron Crawford, Timothy M. Palazzolo and Brian Farkas.

      80.        More importantly, Plaintiffs believed Defendants Tammy Daniels,

Irene Tucker, Boysie Jackson, Ron Crawford, Timothy M. Palazzolo and Brian

Farkas would be complying with the federal and state law with respect to federal

contract awards.

      81.        Plaintiffs relied on Defendants’ representations to their detriment.

      82.        As a direct and proximate result of Defendants material

misrepresentations, while acting in concert, Plaintiffs have suffered damages

including loss of income, credit and reputation destroyed, actual damages and pain

and suffering.

      WHEREFORE, for all of the above reasons, Plaintiffs respectfully requests

that the Court grant the following relief against all Defendants:

      (A)    Enter a declaratory judgment that the actions of Defendants are
             discriminatory and illegal;
      (B)    Preliminarily and permanently enjoin Defendants and its agents,
             affiliates, employees and successors, and all other persons in active
             concert or participation with Defendants, from further discrimination
             in any aspect of demolition contract awards;

      (C)    Award actual, compensatory and/or statutory damages to compensate
             Plaintiffs for their economic losses and damages, and non-economic
             injuries, such as emotional distress, loss of civil rights, and
             humiliation and embarrassment caused by the Defendants'
             discrimination, in an amount to be proven at trial;
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      (D)   Grant Plaintiffs an award of punitive and/or exemplary damages as a
            result of Defendants deliberate, intentional, overt, willful and flagrant
            discrimination on grounds of race or color, in an amount that reflects
            the dual purposes of punishment and deterrence;

      (E)   Declare Defendants DLBA in breach of the subject contracts as
            identified in Exhibit 11, of this complaint;

      (F)   Declare Defendants acted in concert of action to the detriment of the
            Plaintiffs;
      (G)   Grant Plaintiffs an award of attorney fees, costs and pre-judgment and
            post-judgment interest incurred in bringing this action; and

      (H)   Grant such other and additional relief that the Court finds just and
            appropriate under the circumstances.


                                      Respectfully submitted,

                                      VANESSA G. FLUKER, ESQ., PLLC


                                      By:    /s/ Vanessa G. Fluker
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Dated: July 27, 2018
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                              JURY DEMAND

      Plaintiffs DIRECT CONSTRUCTION SERVICES, LLC and TIMOTHY

DRAKEFORD, hereby demands a trial by jury on all issues so triable.

                                    Respectfully submitted,

                                    VANESSA G. FLUKER, ESQ., PLLC

                                    By:   Vanessa G. Fluker
                                          Vanessa G. Fluker (P64870)
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